Case 4:16-cr-00032-ALM-CAN Document 1 Filed 03/09/16 RTTLE : 1
FILE

MAR 0.9 2016
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS Clerk, U.S. District Court
SHERMAN DIVISION Texas Eastern

 

UNITED STATES OF AMERICA

§

§
v. § NO, 4:16CR3 2

§ Judge Tapes —
JESUS FRANCISCO OLVERA-PEREZ  §
aka Jesus Olera-Perez §
aka Jesus Francisco Perez §

INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:
COUNT ONE

Violation: 8 U.S.C. § 1326(a) and
(b) (Reentry of Deported Alien)

On or about December 7, 2015, in McKinney, Texas, in the Eastern District of
Texas, the defendant, Jesus Francisco Olvera-Perez, an alien who previously had been
denied admission, excluded, deported and removed on or about March 29, 2012,
knowingly and unlawfully was found in the United States. The defendant did not obtain
consent for reapplication for admission into the United States from the Attorney General of
the United States or Secretary of Homeland Security, the successor, pursuant to 6 U.S.C.
§§ 202(3), 202(4) and 557.

All in violation of 8 U.S.C. § 1326(a) and (b).

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FOREMAN OF THE GRAND JURY

JOHN M. BALES
United States e
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LA / 3% 4.9.1L

WILLIAM R. TATUM Date
Assistant United States Attorney

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

UNITED STATES OF AMERICA

vz. NO. 4:16CR

JESUS FRANCISCO OLVERA-PEREZ
aka Jesus Olera-Perez
aka Jesus Francisco Perez

MMM MM

NOTICE OF PENALTY
Violation: 8 U.S.C. §1326(a) and (b)

Penalty: Not more than two years imprisonment, a fine not to exceed $250,000, or
both; supervised release of not more than one year;

If removal was subsequent to a conviction for commission of three or more
misdemeanors involving drugs, crimes against the person, or both, or a
felony other than an aggravated felony - not more than 10 years
imprisonment, a fine not to exceed $250,000, or both; supervised release of
not more than 3 years;

If removal was subsequent to a conviction for commission of an aggravated

felony - not more than 20 years imprisonment, a fine not to exceed $250,000,
or both; supervised release of not more than 3 years.

Special Assessment: $100.00

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